       Case 2:12-cr-00049-RMP          ECF No. 600        filed 01/12/17      PageID.3303 Page 1 of 2
 PROB 12C                                                                           Report Date: January 12, 2017
(6/16)
                                                                                                      FILED IN THE
                                      United States District Court                                U.S. DISTRICT COURT
                                                                                            EASTERN DISTRICT OF WASHINGTON


                                                     for the                                 Jan 12, 2017
                                                                                                 SEAN F. MCAVOY, CLERK
                                       Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Samuel William Wright                   Case Number: 0980 2:12CR00049-RMP-3
 Address of Offender: Geiger Corrections Center
 Name of Sentencing Judicial Officer: The Honorable Rosanna Malouf Peterson, U. S. District Judge
 Date of Original Sentence: September 26, 2013
 Original Offense:       Distribution of a Mixture of Substance Containing a Detectable Amount of Heroin,
                         8 U.S.C. § 841(a)(1)
 Original Sentence:      Prison - 63 months                Type of Supervision: Supervised Release
                         TSR - 36 months

 Amended Sentence:       Prison - 51 months
 July 23, 2015           TSR - 36 months
 Asst. U.S. Attorney:    Matthew F. Duggan                 Date Supervision Commenced: February 16, 2016
 Defense Attorney:       Federal Defenders Office          Date Supervision Expires: February 15, 2019


                                         PETITIONING THE COURT

                To issue a summons.

The probation officer believes that the offender has violated the following condition(s) of supervision:


 Violation Number       Nature of Noncompliance

            1           Mandatory Condition # 2: The defendant shall not commit another Federal, state, or
                        local crime.

                        Supporting Evidence: On November 9, 2016, the offender was pulled over by Spokane
                        police. Mr. Wright had a suspended license and was charged with third degree driving
                        while license suspended. He contacted the undersigned officer on November 10, 2016, to
                        report he was driving his girlfriend to the hospital because she had a seizure and was
                        subsequently pulled over.
Violation Number        Nature of Noncompliance

            2           Mandatory Condition # 2: The defendant shall not commit another Federal, state, or local
                        crime.
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Re: Wright, Samuel William
January 12, 2017
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                     Supporting Evidence: Mr. Wright violated his conditions of supervised release in Spokane,
                     Washington, by being arrested on January 6, 2017, and charged for felony driving under the
                     influence. The Spokane County Superior Court cause number is 17-1-00133-4. Mr. Wright
                     also has a Spokane County District Court cause number of PX0170001.


The U.S. Probation Office respectfully recommends the Court issue a summons requiring the offender to appear
to answer to the allegations contained in this petition.



                                       I declare under penalty of perjury that the foregoing is true and correct.
                                                         Executed on:     January 12, 2017
                                                                          s/Joshua D. Schull
                                                                          Joshua D. Schull
                                                                          U.S. Probation Officer



 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [ X]     The Issuance of a Summons
 [ ]      Other

                                                                          Signature of Judicial Officer
                                                                                          1/12/2017

                                                                          Date
